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  AO 245B (Rev. 8/96) Sheet 1 - Judgment in a Criminal Case


                                                    United States District Court
                                                                                     D istrict of New Mexico
                        U N I T E D S T A T E S O F A M E R IC A                                                                     JUDGMENT IN A CRIMINAL CASE
                                                          v.
                                 M ICHAEL ESTRADA

                                                                                                                                    (For Offenses Committed On or After November 1, 1987)
                                                                                                                                     Case Number:                       2:01CR00071-001MV
THE DEFENDANT:                                                                                                                       Defense Attorney: Dennis J. Candelaria (Appointed)

         pleaded guilty to count(s) 1 and 2 of Indictment
         pleaded nolo contendere to count(s)
         which was accepted by the court.
     was found guilty on count(s)
      after a plea of not guilty.
   ACCORDINGLY, t h e c o u r t h a s a d j u d i c a t e d t h a t t h e d e f e n d a n t i s g u i l t y o f t h e f o l l o w i n g o f f e n s e ( s ) :               Date Offense           Count
   Title & Section                                                                 Nature of Offense                                                                         Concluded           Number(s)
   21 U.S.C. §841(b)(1)(C)                                                    Distribution of Less Than 500 Grams of Cocaine                                                    06/12/1996            1


   21 U.S.C. §841(b)(1)(C)                                                    Distribution of Less Than 500 Grams of Cocaine                                                    09/27/2000            2




      The defendant is sentenced as provided in pages 1 through                                                                                      4          of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
         The defendant has been found not guilty on count(s)
         Count(s)                                                                                                               dismissed on the motion of the United States.
      IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
 any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.
Defendant's Soc. Sec. No.: XXX-XX-XXXX                                                                                                           12/19/2001
Defendant's Date of Birth:                       06/28/1971                                                                                      Date of Imposition of Judgment
Defendant's USM No.:                             19970-051
Defendant's Residence Address:                                                                                                                  Honorable Martha Vazquez
1301 Mountainer - Apt. #18                                                                                                                      United States District Judge /S/
Deming, NM 88030                                                                                                                                 Signature of Judicial Officer


                                                                                                                                                Honorable Martha Vazquez
                                                                                                                                                United States District Judge
Defendant's Mailing Address (if different from residence):                                                                                       Name & Title of Judicial Officer

(Same As Above)
                                                                                                                                                 December 26, 2001
                                                                                                                                                 Date
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                                                        IMPRISONMENT

   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of    18 months            .
        Eighteen (18) months custody as to each of Counts 1 and 2, said terms to run concurrently.




       The court makes the following recommendations to the Bureau of Prisons:
        service of sentence at Federal Correctional Institution La Tuna, Anthony, New Mexico/Texas; and participation in a
        500-hour drug treatment program during incarceration.




       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:

            at                     a.m./ p.m. on

            as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            before 2 p.m. on

            as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.



                                                           RETURN
I have executed this judgment as follows:




     Defendant delivered on                                             to

at                                        , with a Certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                                      By
                                                                                                      Deputy U.S. Marshal
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                           3 - Supervised Release             Document 38 Filed 12/26/01 Page 3 of 5

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                                                    SUPERVISED RELEASE
      Upon release from imprisonment, the defendant shall be on supervised release for a term of                       3 years.
      Three (3) years supervised release as to each of Counts 1 and 2, said terms to run concurrently.




         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
      release from the custody of the Bureau of Prisons.
      The defendant shall not commit another federal, state, or local crime.
      The defendant shall not illegally possess a controlled substance.
      For offenses committed on or after September 13, 1994:
           The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
      drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.


              The above drug testing condition is suspended based on the courts determination that the defendant poses
              a low risk of future substance abuse. (Check if applicable.)
      The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)
           If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay
      any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance
      with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.
      The defendant shall comply with the standard conditions that have been adopted by this court (set forth below) . The
   defendant shall also comply with the additional conditions on the attached page (if indicated below).

                                  STANDARD CONDITIONS OF SUPERVISION
 1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
    five days of each month;
 3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
    officer;
 4) the defendant shall support his or her dependents and meet other family responsibilities;
                                                                                                                            .
 5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
    other acceptable reasons;
 6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;
 7) the defendant shall refrain from excessive use of alcohol;
 8) the defendant shall not frequent places where controlled substances are illegally.    sold, used, distributed, or administered;
 9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer,
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
     without the permission
                      . . of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program for substance abuse which may include testing, as directed by the U.S.
Probation Office.

The defendant shall refrain from the use of and possession of beer, wine, liquor, and other forms of intoxicants.

The defendant shall provide the U.S. Probation Office with access to any requested financial information.
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                           5, Part A - Criminal Monetary Document
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                                       CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments.
            Remitted                           Assessment                        Fine                      Restitution
         Totals:                          $        200.00              $                            $

                                              SCHEDULE OF PAYMENTS
   Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution;
(5) interest; (6) penalties.
    Payment of the total fine and other criminal monetary penalties shall be due as follows:

A           in full immediately; or
B           $                    immediately, balance due (see special instructions regarding payment of criminal monetary penalties):

     The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Special instructions regarding the payment of criminal monetary penalties:

    Criminal monetary penalties are to be made payable by cashier's check, bank or postal money order to the U. S. District Court
    Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico 87102 unless otherwise noted by the court. Payments must include
    defendant's name, current address, case number and type of payment.

    $100.00 Special Assessment as to each of Counts 1 and 2 for a total of $200.00, which is due immediately.




Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are
to be made as directed by the court, the probation officer, or the United States attorney.
